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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
CLEAN LABEL PROJECT                           )
FOUNDATION,
                              )
         Plaintiff,           )
                              )
    v.                        )                       Civil Action No. 20-cv-3231 (TSC)
                              )
MEAD JOHNSON & COMPANY, LLC., )
                              )
         Defendant.           )
                              )

                                  MEMORANDUM OPINION

       Plaintiff Clean Label Project Foundation (“Clean Label”) has brought this action on

behalf of itself and the “general public,” against Defendant Mead Johnson & Company, LLC,

alleging deceptive labeling, marketing, and sale of certain baby formula products, in violation of

the District of Columbia’s Consumer Protection Procedures Act (“CPPA”), D.C. Code § 28-

3901, et seq. Plaintiff seeks injunctive relief and punitive damages. In short, Plaintiff claims

that Defendant markets its products as supporting infant brain health, but the products actually

contain harmful neurotoxins. Plaintiff originally brought this suit in D.C. Superior Court, but

Defendant removed it to this court. Plaintiff now seeks to have this action remanded. See Pl.

Mot., ECF No. 12. Because Defendant has failed to show that this court has subject matter

jurisdiction, Plaintiff’s motion to remand will be GRANTED.




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                                      I.      BACKGROUND

        Plaintiff is a non-profit organization under D.C. Code § 28-3905(k)(1)(C), that purchased

Defendant’s products to “test or evaluate their qualities.” 1 Compl. ¶¶ 20, 131, ECF No. 12-1.

The tested products include: Nutramigen Hypoallergenic Ready to Use Infant Formula with Iron

(32 fl. oz), Neuro Pro Infant Formula Milk-Based with Iron (20.7 oz); EnfaCare – Neuro Pro

(12.8 oz), Reguline Infant Formula – Milk-Based with Iron (12.4 oz), ProSobee Soy Infant

Formula for Sensitive Tummy (12.9 oz), and Premium Infant & Toddler Formula – Toddler

Transitions (20 oz). See Compl. ¶ 19. Plaintiff alleges that these products contain “dangerous

levels of multiple known neurotoxins” including lead, Bisphenol A, and Cadmium at “unusually

high” levels “relative to competitive infant formula brands.” Compl. ¶¶ 21, 27, 93–104.

Plaintiff claims that because Defendant touts “brain health” in its marketing, “D.C. consumers

. . . are led to believe that the Product is safe for their baby and free of concerning levels of

contaminants” and “are enticed to purchase this Product over” competitors’ products “on the

basis of these false and misleading claims.” Compl. ¶¶ 30–32. Plaintiff further pleads that

Defendant either knew or should have known that its marketing representations regarding its

products’ effects on infant brain health are false. Compl. ¶¶ 105–14.

        Plaintiff filed its Complaint in D.C. Superior Court on August 21, 2020, “on behalf of

[itself] and the general public of the District of Columbia,” pursuant to D.C. Code § 28-

3905(k)(1)-(2). Compl. ¶ 115. It also alleges that Defendant’s products are “[a]dulterated”

under D.C. Code § 48-103. Compl. ¶ 128. Defendant filed a timely notice of removal to this



1
  See also D.C. Code § 28-3905(k)(1)(D)(i) (providing that “public interest organization[s] may,
on behalf of the interests of a consumer or class of consumers, bring an action seeking relief
from the use by any person of a trade practice in violation of a law of the District if the consumer
or class could bring an action under subparagraph (A) of this paragraph for relief from such use
by such person or such trade practice”).
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court, arguing that this action is removable pursuant to 28 U.S.C. §§ 1331, 1332 because a

federal question is implicated, and this is a class action to which the Class Action Fairness Act

(“CAFA”) applies. See Notice of Removal at 3–13, ECF No. 1.

                                   II.      LEGAL STANDARD

        While a plaintiff may ordinarily select a state court to adjudicate federal claims, a

defendant may remove a civil action to a federal district court that has original subject matter

jurisdiction over the dispute. See 28 U.S.C. § 1441(a). “The party seeking removal of an action

bears the burden of proving that jurisdiction exists in federal court,” and “if federal jurisdiction is

doubtful, a remand to state court is necessary.” Downey v. Ambassador Devel., LLC, 568 F.

Supp. 2d 28, 30 (D.D.C. 2008); Johnson-Brown v. 2200 M St. LLC, 257 F. Supp. 2d 175, 177

(D.D.C. 2003) (“Where the need to remand is not self-evident, the court must resolve any

ambiguities concerning the propriety of removal in favor of remand.”). Indeed, if “at any

time . . . it appears that the district court lacks subject matter jurisdiction,” it must remand the

action to state court. 28 U.S.C. § 1447(c).

        Because appellate review of a remand decision is generally prohibited, see Republic of

Venezuela v. Philip Morris Inc., 287 F.3d 192, 196 (D.C. Cir. 2002) (citing 28 U.S.C. § 1447(d)),

“the legal standard for removal has largely been developed in the district courts.” Clean Label

Project Found. v. Abbott Lab’ys, Inc., No. 21-CV-3247 (BAH), 2022 WL 1658813, at *2

(D.D.C. May 25, 2022).

                                         III.     DISCUSSION

A. Class Action Fairness Act

        CAFA provides that federal district courts have original jurisdiction over any civil suit

where (i) the amount in controversy, exclusive of interest and costs, exceeds $5 million; (ii) the

matter “is a class action;” (iii) there is minimal diversity, such that “any member of a class of
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plaintiffs is a citizen of a State different from any defendant;” and (iv) the proposed class is at

least 100 members. 28 U.S.C. §§ 1332(d)(2)(A), (d)(5)(B). Importantly, CAFA defines a “class

action” as “any civil action filed under rule 23 of the Federal Rules of Civil Procedure or similar

State statute or rule of judicial procedure authorizing an action to be brought by 1 or more

representative persons as a class action.” Id. § 1332(d)(1)(B).

        Plaintiff brings this suit under CPPA provisions § 28-3905(k)(1)-(2), as a non-profit

public interest organization on behalf of itself and the “general public.” Compl. ¶ 115. Nowhere

in the Complaint does Plaintiff describe the suit as a “class action,” define a putative class, or

make any attempt to comply with either Federal Rule 23 or the nearly identical D.C. Superior

Court Rule 23. But Plaintiff does seek injunctive relief and punitive damages, citing D.C. Code

§ 28-3905(k)(2)(A-F), see Compl. at 30, and the effect of that relief, if granted, “may differ little

if at all from the relief that plaintiff would have sought had it elected to bring this suit as a

federal class action in the first instance under Rule 23(b)(2).” Clean Label Project Found., 2022

WL 1658813, at *7.

        Because Plaintiff has not brought this suit as a class action, the dispute here centers on

whether the CPPA is a “similar State statute” that meets the threshold requirement for an action

to fall within CAFA’s ambit. Defendant argues that this case is removable—and thus remand

should be denied—because Plaintiff expressly seeks punitive damages, i.e., monetary damages.

See Def. Opp’n at 7–13, ECF No. 15. Its argument has three pillars: (i) the D.C. Court of

Appeals’ decision in Rotunda v. Marriott International, Inc., 123 A.3d 980 (D.C. 2015), holding

that § 28-3905(k)(1) CPPA actions requesting monetary damages must seek class certification,

renders this action subject to CAFA; (ii) to the extent pre-Rotunda cases in this Circuit have

ruled otherwise, those cases are effectively abrogated based on the D.C. Court of Appeals’



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interpretation of the CPPA; and (iii) post-Rotunda cases only stand for the proposition that

Rotunda’s holding will not be extended to § 28-3905(k)(1) CPPA actions seeking only injunctive

relief. See Def. Opp’n at 7–13. Having reviewed the briefs and relevant precedent, the court

remains unconvinced that this action is removable. Consequently, Defendant has failed to carry

its burden.

           In Rotunda, the D.C. Court of Appeals upheld the D.C. Superior Court’s dismissal of a

CPPA representative claim for money damages where the complaint “disclaimed any intention to

seek class certification under [D.C.] Superior Court Rule of Civil Procedure Rule 23.” 123 A.3d

at 982. The Court of Appeals found that although D.C. Code § 28-3905(k)(1) does not specify

“how broadly-contoured actions for damages are to be regulated or managed,” the D.C. Council

did not intend to displace Rule 23, and a plaintiff brining a representative CPPA claim for money

damages must seek to certify a class under Rule 23. Rotunda, 123 A.3d at 984–85. The effect is

that a plaintiff who brings a representative suit under § 28-3905(k)(1), seeking money damages,

must seek to certify a class at the appropriate stage of litigation—typically the motion to dismiss

stage. 2

           But whether a subset of CPPA litigants must seek to certify a class at the motion to

dismiss stage is a distinct question, separate and apart from whether the CPPA is a “similar State

statute” governing state class actions. See Hackman v. One Brands, LLC, No. CV 18-2101

(CKK), 2019 WL 1440202, at *3 (D.D.C. Apr. 1, 2019) (citing Nat’l Consumers League v.

Flowers Bakeries, LLC, 36 F. Supp. 3d 26, 36 (D.D.C. 2014)). The D.C. Court of Appeals has




2
  See Fed. R. Civ. P. 23(c) (“At an early practicable time after a person sues or is sued as a class
representative, the court must determine by order whether to certify the action as a class
action.”).
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answered the first question, and courts in this district have answered the second question many

times over.

       Pre-Rotunda, courts in this Circuit reached a consensus view that removal of CPPA cases

under CAFA was impermissible. See e.g., Hackman, 2019 WL 1440202, at *3 (citing Nat’l

Consumers League, LLC, 36 F. Supp. 3d at 36; Breakman v. AOL LLC, 545 F. Supp. 2d 96, 101–

02 (D.D.C. 2008); Zuckman v. Monster Beverage Corp., 958 F. Supp. 2d 293, 304–06 (D.D.C.

2013) (explaining that courts in this Circuit have consistently held that “claims brought pursuant

to the []CPPA are not class actions removable to federal court under CAFA”). In Nat’l

Consumers League, a court in this district explained that “[a]bsent the hallmarks of Rule 23 class

actions; namely, adequacy of representation, numerosity, commonality, typicality, or the

requirement of class certification, courts have held that private attorney general statutes [like the

CPPA] lack the equivalency to Rule 23 that CAFA demands.” 36 F. Supp. 3d at 36 (internal

quotation marks and citation omitted).

       The D.C. Court of Appeals’ decision in Rotunda was animated by the same concerns that

courts in this district have addressed at length—the inadequacy of the CPPA’s procedural

safeguards for litigants’ due process rights. Indeed, the D.C. Court of Appeals explained that the

CPPA does not require plaintiffs to make reasonable efforts to supply adequate notice to

potential class members, offer an opportunity to opt-out from participation, or establish

procedures to promote “the manageability of suits brought on behalf of a potentially vast number

of plaintiffs.” Rotunda, 123 A.3d at 984–87. Recognizing the shortcomings of the CPPA, the

Court of Appeals interpreted it as requiring Rule 23 compliance for damages suits. Rotunda, 123

A.3d at 984–85. But Defendant has failed to demonstrate that Rotunda alters the CPPA removal

and remand jurisprudence of this Circuit.



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       Post-Rotunda, courts in this district have continued to remand CPPA actions to D.C.

Superior Court, explaining that the CPPA “lacks the ‘requisite procedural safeguards’ to qualify

as a state statute sufficiently equivalent to Rule 23 as required by CAFA” when the action is not

filed under Rule 23. Toxin Free USA v. J.M. Smucker Co., 507 F. Supp. 3d 40, 44 (D.D.C. 2020)

(quoting Zuckman, 958 F. Supp. 2d at 305); see e.g., Hackman, 2019 WL 1440202, at *3

(continuing to apply this court’s pre-Rotunda line of CPPA removal cases and remanding the

action to D.C. Superior Court); Animal Legal Def. Fund v. Hormel Foods Corp., 249 F. Supp. 3d

53, 64 (D.D.C. 2017 (reiterating that the CPPA is “a separate and distinct procedural vehicle

from a class action” and remanding to D.C. Superior Court (quotation omitted)).

       Further, while Defendant is correct that—post-Rotunda—courts in this district have only

remanded in CPPA cases where a plaintiff sought purely injunctive relief or monetary relief on

behalf of themselves, see Clean Label Project Found., 2022 WL 1658813, at *8 (collecting post-

Rotunda cases and remanding to D.C. Superior Court), 3 the court is unpersuaded that the long

and undisturbed line of cases finding that CPPA actions are not removable has been expunged by

the Rotunda decision.




3
  In Clean Label Project Foundation, Plaintiff claimed it had tested certain Abbot Laboratories
products and determined that, contrary to the products’ labels, the products contained “dangerous
levels of lead and cadmium” that were “incompatible with” product descriptions “promoting
brain development, bone development, and immune support.” Id. at *1 (internal quotation marks
and citations omitted). Clean Label sued in D.C. Superior Court “on behalf of the general
public,” seeking injunctive relief but also citing to CPPA provisions § 28-3905(k)(2)(B)–(F) that
allow for punitive damages. Id. at *2, 10. The only distinction of note between the prior Clean
Label case and this one is that here, Plaintiff has expressly asked for punitive damages, and
perhaps only mistakenly did so there. See id. at *10–11 (finding that Clean Label’s “citation to
‘(B–F)’ is, as this dispute reflects, somewhat inartful drafting,” and holding that the action
nonetheless sought purely injunctive relief).

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        Having reviewed the relevant caselaw, the court declines to hold that representative

CPPA actions seeking only unspecified punitive damages and injunctive relief are removable

under CAFA. Notably absent from Defendant’s briefing is any explication of any case, in this

Circuit or any other, in which a court has found that a state statute is a “similar State statute”

within the meaning of CAFA. Defendant’s failure to do so is not surprising given that courts in

this district have found repeatedly that the CPPA is not such a statute. As then-Chief Judge

Howell put it in Clean Label, “[t]he collective wisdom reflected in these decisions is compelling,

and defendant offers no reasons to stray from this well-trod path.” 2022 WL 1658813 at *9.

B. Federal Question

        Federal district courts have “original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. The Supreme Court has

explained that such jurisdiction is properly exercised “only when a federal question is presented

on the face of the plaintiff’s properly pleaded complaint.” Caterpillar Inc. v. Williams, 482 U.S.

386, 392 (1987). Here, Plaintiff has not pleaded allegations against Defendant under the

Constitution, any federal statute, or treaties. Nor does the Complaint otherwise implicate a

federal issue on its face.

        Defendant makes a last-ditch attempt to establish federal jurisdiction by arguing federal

preemption—that Plaintiff’s Complaint implicates the “Infant Formula Act along with its

enabling regulations” which “comprehensively regulate[] how infant formula is made, its

contents and ingredients, the labels and warnings on its packaging, and its recall.” Def. Opp’n at

19 (citing 21 U.S.C. § 350a, 21 C.F.R. §§ 106–107). Defendant argues that Grable & Sons

Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005) (Grable), confers federal

question jurisdiction. See Def. Opp’n at 18.



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       In Grable, the Supreme Court reaffirmed that federal courts can hear “claims recognized

under state law that nonetheless turn on substantial questions of federal law.” Id. at 312. The

Court explained that a federal court may exercise federal question jurisdiction over a state law

claim where: (1) the “state law claim necessarily raise[s] a stated federal issue”; (2) the federal

issue is “actually disputed and substantial”; and (3) the exercise of federal jurisdiction will not

“disturb [] any congressionally approved balance of federal and state jurisdictional

responsibilities.” Id. at 314.

       Defendant’s argument fails at Grable step one because it is not at all clear from the

Complaint or from Defendant’s briefing why the relief Plaintiff requests would raise any issues

of federal law. Plaintiff alleges that Defendant’s advertising and marketing—claiming that its

infant formulas support brain and immune health— is misleading because of various neurotoxins

found in the products, and it seeks an order that Defendant correct its advertising. See Compl.

¶¶ 88–114; id. at 30. Defendant counters that these allegations raise a federal question because

selling infant formula in the United States requires the manufacturer to satisfy a number of

federal regulatory requirements: (i) the manufacturer must “submit a notice” to the Food and

Drug Administration (“FDA”) that “includes its ‘quantitative formulation’—how much of each

ingredient it contains—as well as a statement of the ‘basis on which each ingredient’ meets the

requirements of being safe and suitable”; (ii) “[t]he notice must also assure FDA that the formula

contains the required vitamins and nutrients, as demonstrated by testing”; (iii) FDA then has

ninety days to review before the manufacturer can sell the product, and if FDA flags “any

deficiencies in the notice’s required assurances,” the manufacturer cannot sell the product; (iv) if

additional information is requested then the ninety day review begins again; (v) similar

regulatory procedures apply if the manufacturer makes a “major change” to an existing formula



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or if there is a recall. See Def. Opp’n at 18 (citing 21 U.S.C. §§ 350a(b)(3), (d)(1)(A)–(C); id.

§§ 350a(c)(1)(B), (2)(B); 21 C.F.R. §§ 106.120(a), (b)(5)(ii)–(6)(ii); id. § 106.120(e); id.

§ 106.3).

       Even amidst this extensive federal regulatory landscape, Defendant has not shown that

this suit involves a federal law, regulation, or agency action approving the advertising and

marketing of Defendant’s products. The fact that the FDA has approved the use of the

ingredients at issue does not mean that the advertising of these formulas is not misleading. See

Animal Legal Def. Fund, 249 F. Supp. 3d at 56–59 (holding that the CPPA action was not

removable under federal question jurisdiction and explaining that even if federal law granted

defendant “the right to use various terms on its meat labels . . . they do not appear to have given

[d]efendant any sort of approval to produce the advertisements challenged in this case”).

       This is not the first time a defendant has attempted to transform a CPPA claim into a

federal law claim to bring it within federal jurisdiction, and this case fares no better than the

previous ones. See Clean Label Project Found., 2022 WL 1658813 at *3–6 (rejecting

defendant’s Grable argument regarding plaintiff’s CPPA claim); Animal Legal Def. Fund, 249 F.

Supp. 3d at 57–59. Because the Complaint pleads no federal question, this court does not have

federal question jurisdiction.

C. Diversity Jurisdiction

       While Defendant did not explicitly remove this case under 28 U.S.C. § 1332(a)—the

traditional diversity statute—and has made no specific arguments in support of removal under

that statute, its Notice of Removal does cite 28 U.S.C. § 1332. See Notice of Removal at 1.

Therefore, the court briefly addresses this potential basis for removal and finds that this action

does not satisfy federal diversity jurisdiction as pleaded.



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        Under 28 U.S.C. § 1332(a), district courts “have original jurisdiction of all civil actions

where the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs, and is between . . . citizens of different states.”

        The Complaint does not allege where the parties are domiciled, but, regardless of whether

there is complete diversity between the parties, the amount in controversy is not met because

Plaintiff seeks only injunctive relief and unspecified punitive damages. See Compl at 30.

Furthermore, because the non-aggregation principle applies to punitive damages when assessing

the amount in controversy for purposes of diversity jurisdiction, any estimate of punitive

damages must be divided by the number of persons represented in this action. See Toxin Free

USA, 507 F. Supp. 3d at 46 (“The sole exception to the nonaggregation principle is when ‘two or

more plaintiffs unite to enforce a single title or right in which they have a common and

undivided interest.” (quoting Snyder v. Harris, 394 U.S. 332, 335 (1969))); see also Hackman,

2019 WL 1440202, at *6–7 (collecting cases in this Circuit, the Fifth Circuit, the Ninth Circuit,

and Eleventh Circuit Courts of Appeals and finding universal consensus that the non-aggregation

principle applies to punitive damages). Defendant has argued that the number of persons

represented by “the general public” in this suit is likely in the thousands. See Wadsworth Decl.

¶ 4, ECF No. 15-1. Assuming that this suit could even be maintained as a class action, the court

is satisfied that, using the non-aggregation principle, punitive damages would not be high enough

to meet the amount in controversy threshold.




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                                  IV.     CONCLUSION

      For the reasons explained herein, Plaintiff’s motion to remand, ECF No. 12, will be

GRANTED. This case will be REMANDED to the District of Columbia Superior Court. A

corresponding Order will accompany this Memorandum Opinion.




Dated: March 31, 2023

                                           Tanya S. Chutkan
                                           TANYA S. CHUTKAN
                                           United States District Judge




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